Exhibit D
                                                                    ,,

Assistant County Counsel
    Richard M. Flores                     MEB.CEDk                                              Sr. Deputy
                                                                                             James B Tarhalla

   Chief Civil litigator
    Roger S. Malzkind
                                               COUNTY                                            Deputies
                                                                                            Marianne M. Greene
                                                                                             Kimberly R. Helms
     Chief Deputy                    OFFICE OF THE COUNTY COUNSEL                              David A Olsen
  Michael P. Calabrese                                                                        James E Slone
                                              JAMES N. FINCHER
                                                County Counsel



     December 7, 2010


     Thomas Campagne
     Campagne, Campagne & Lerner
     1685 N. Helm Avenue
     Fresno,' CA 93727

              . Re:        Crane-McNab, LLC, et a1 v. County ofMerced
                           Case No. 1:08-CV-01218-LJO-SMS

     Dear Mr. Campagne:

            During our post-pretrial conference conversation, I understood you to state
     your experts opined that (assuming there was any migration to your clients'
     property) the installation of the comprehensive gas collection system would
     remediate any such migration. You stated you did not know if the contract for the
     system had been approved by the Board of Supervisors. I also understood you to
     say your injunctive relief claim, at least, would be moot by reason of the system, and
     the trial could be completed in a day and a half.

           At your request, I have attached a copy of the BAI which approves the
     contract for, among other things, construction of the system. I understand the
     system will be fully operational this month.

            As always, should you desire to discuss this matter further, please do not
      hesitate to contact me.

                                                   Very truly yours,




      RSM/smp

      Enclosure: As stated


   2222 "M" Street, Room 309, Merced. CA 95340    Telephone: (209) 385-7564   Facsimile: (209) 726-1337
DPWNo:         O/A
Budget Unit: 75400/87459· 87895
                                                                                                                        34
TO:
                                                                                                                                          f: ,:
THROUGH:                                                                                                                                 f:;       ;.:.
                                                                                         ........                                       If"       ;;' ~
FROM:                                                      ~"_!lJ("]IL',", WORKS                    ---;-; _.___                        i,.:..:.. '
VENDOR OR CONTRACTOR                                                                           ,: :
                                                                                   . '.... ~:~.':;..<!¥:<:;...: ~fi.: ;;;'~~::r--"'"-
PRODUCT OR SERVICE                                            PHASE 1-4 FINAL C~~~~r~~.·~~'i~E;JA

TYPE   Construction                                                                                      No.          2009238
Process       IFB                                         Competitive Process                         4/2/09
Original Contract Date                                    Action                                      3/3/09
SCOPE OF SERVICES/SUM
On September 22, 2009, the                            '"'-:",ri"7#m the Department of Public Works                    to advertise
the Highway 59 Landfill Phase 1                          5 Partial Closure project and set a Public Bid
Opening for 3:00 PM on                                  are the results of said Bid Opening:
            Wood Brothers, I                                              $3.341,496.00
               FCCl,lodi, CA                                               $3,414.721.00
                                                                           $3.598,926.00
                                                                           $3.654.999.00
                                                                           $3.742.609.00
                Teichert Construction                                      $3.753,032.20
                Env. Equip. Rental, WQiQdI.and                             $4.115,136.00
                Sierra Equipment Rent~i, 'Glenn. CA                        $4.176,316.00
                Papich Construction, Pismo, CA                             $4.200.837.90


 REQUIRED REVIEW:
      L81 Audilor-Conlroller      IXI CEO                   IZI CEO-Budget                              19] Counsel
      o EEO Diversity • ; '~. ~ Admin. Ser..-Sup~~rv~uman Resources                                     f2J Risk Mgmt
      L8J DPW-Admin. ,~r;gj DPW-Prof. Svc. ~ DPW-Road Div.                                              [gJ DPW-Solid Wasl~
 Department Contact/Phone: Randy Bardini, Ext. 4641
 REQUEST/RECOMMENDATION/ACTION NEEDED:
 1) Award the Construction Contract in the amount of $3,341,496.00 to Wood Brothers, Inc., of
 Lemoore, CA for the Highway 59 Landfill Phase 1-4 Final Closure, Phase 5 Partial Closure project,
 2) Authorize the Chairman of the Board of Supervisors to execute the Contract upon approval of
 county Counsel.


  BOARD ACTION: 3/30/2010

  CONTRACT NO: 2009238

  TO: DPW, DAS

  BOARD ORDER TO FOLLOW
Page 2
Highway 59 Landfill Phase 1-4 Final Closure, Phase 5 Partial Closure - Award



Budget Unit 75400                                Account Number        87459/87895
Contract Period Beginning 3/30110                Ending     6/30/11     Months 15
Total Contract Amount $3,341,496.00              Prior Contract Amount     $0.00
Difference $0.00                                 Actual Expenditures $0.00
Budgeted Amount $6,261,460.00                    Budget Transfer Attached No
Funding Source    Funding for the Phase 5 GCCS (Estimate $1,000,000.00) is included in Budget Unit
                  75400 Account 87459. Funding for Phase 1-4 Closure and Phase 1-4 GCCS
                  (estimate $5,261,460) in included in Budget Unit 75400, Object Account 87895.


Staffing Impact     None by this action.




Additional information if needed
The second lowest bidder, FCCI, (Ford Construction Company, Inc.), has protested the bid award with
regard to the Bid Bond submitted by Wood Brothers, Inc. The protest has been reviewed by County
Counsel and it has been determined to be a minor irregularity which the County may waive. Based on this
review, the DPW in conjunction with County Counsel is recommending that the contract be awarded to the
lowest responsible bidder, Wood Brothers, Inc.
